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            16
                                                   UNITED STATES DISTRICT COURT
            17
                                               NORTHERN DISTRICT OF CALIFORNIA
            18

            19
                     WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                   DECLARATION OF DANIEL J. GROOMS IN
            21                                                      SUPPORT OF WHATSAPP’S AMENDED
                                                                    ADMINISTRATIVE MOTION TO SEAL
            22                       Plaintiffs,                    DOCUMENTS RELATED TO WHATSAPP’S
                                                                    MOTION TO DISQUALIFY DEFENSE
            23             v.                                       COUNSEL BASED ON PRIOR
                                                                    REPRESENTATION IN A SEALED MATTER
            24       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,              Judge:     Hon. Phyllis J. Hamilton
            25                                                      Date:      None required (L.R. 7-11(c))
                                     Defendants.
            26

            27                                     REDACTED VERSION OF
                                               DOCUMENT SOUGHT TO BE SEALED
            28
  COOLEY LLP
ATTO RNEY S AT LAW                                                           THIRD DECLARATION OF DANIEL J. GROOMS
 SAN FRA NCI S CO
                                                               1.                       CASE NO. 4:19-CV-07123-PJH
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              4             6.      The following portions of the documents submitted in support of WhatsApp’s Motion

              5      to Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter contain, summarize,

              6      or tend to reveal information that is subject to the sealing order in the                (including the

              7      district and nature of the matter):

              8                     a. Lines i:9-10, 2:17-19, 2 n.1, 3:3, 3:4, 4:6-9, 4:10-15, 4:25-26, 4 n.3, 5:1-5, 5:5-7,

              9                         5:8, 5:10-19, 5 n.5, 8:10, 8:11-12, 8:15-16, 9:3, 9:5, 10:10-12, 10:17-23, 11:7-8,

            10                          11:20-21, 11 n.7, and 13:15-21 of WhatsApp’s Motion to Disqualify Defense

            11                          Counsel Based on Prior Representation in a Sealed Matter;

            12                      b. Lines 2:3-5, 2:9-10, 2:11, 2:13-15, 2:16, 2:17-19, 2:21-26, 2 n.1, 3:1-28, 4:1-3,

            13                          4:5-7, 4:9-10, and 4:13-21 of the Declaration of Jacob Sommer in Support

            14                          of WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

            15                          Representation in a Sealed Matter;

            16                      c. The highlighted information on pages 2 and 3 of Exhibit A to the Declaration of

            17                          Travis LeBlanc in support of WhatsApp’s Motion to Disqualify Defense Counsel

            18                          Based on Prior Representation in a Sealed Matter;

            19                      d. The highlighted information on pages 1 and 3 of Exhibit B to the Declaration of

            20                          Travis LeBlanc in support of WhatsApp’s Motion to Disqualify Defense Counsel

            21                          Based on Prior Representation in a Sealed Matter;

            22                      e. Lines 2:9 and 2:12-13 of WhatsApp’s Request for Judicial Notice;

            23                       f. Lines 2:5-6 of the Proposed Order Granting WhatsApp’s Request for Judicial

            24                          Notice; and

            25                      g. Lines 2:9-13, 2:16, 3:7, 3:10, and 3:14 of the April 10, 2020 Declaration of Daniel

            26                          J. Grooms in support of WhatsApp’s Motion to Seal;

            27                      h. Lines 2:9-10, 2:10-11, 2:12-3:3, 3:6, 4:3 of April 29, 2020 Declaration of Daniel
            28                         J. Grooms in support of WhatsApp’s Amended Motion to Seal (this document);
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ATTO RNEY S AT LAW                                                                  THIRD DECLARATION OF DANIEL J. GROOMS
 SAN FRA NCI S CO
                                                                       3.                      CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 59-3 Filed 04/29/20 Page 4 of 4



              1                     i. Lines 3:4-9 of the April 10, 2020 Proof of Service by Daniel J. Grooms; and

              2                     j. Lines 3:5-10 of the April 29, 2020 Proof of Service by Daniel J. Grooms.

              3              7.     Due to its obligations to comply with the sealing order in the                          ,

              4      WhatsApp seeks to file the redacted portions of these documents under seal pursuant to Local Rule

              5      79-5(d). WhatsApp has redacted additional information it understands the Government will move to

              6      seal pursuant to Local Rule 79-5(e) from these documents as well as from the Declaration of Travis

              7      LeBlanc.

              8              8.     WhatsApp did not seek to agree to a stipulation with Defendants, as WhatsApp is not

              9      at liberty to discuss the nature of the information it seeks to seal under Rule 79-5(d) and (e) with

            10       Defendants.

            11               I declare under penalty of perjury that the foregoing is true and correct. Executed on April 29,

            12       2020, in Falls Church, Virginia.

            13                                                      /s/ Daniel J. Grooms
                                                                    Daniel J. Grooms
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  COOLEY LLP
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 SAN FRA NCI S CO
                                                                      4.                       CASE NO. 4:19-CV-07123-PJH
